Case 9:22-bk-10023-DS      Doc 148 Filed 03/29/23 Entered 03/29/23 17:39:11        Desc
                            Main Document     Page 1 of 5



 1   Craig G. Margulies, Esq. (State Bar No. 185925)
     Craig@MarguliesFaithLaw.com
 2   Monsi Morales, Esq. (State Bar No. 235520)
     Monsi@MarguliesFaithLaw.com
 3   MARGULIES FAITH LLP
     16030 Ventura Blvd., Suite 470, Encino, CA 91436
 4   Telephone: (818) 705-2777
     Facsimile: (818) 705-3777
 5
     Attorneys for Darrell Maag,
 6   Debtor and Debtor-in-Possession

 7
                           UNITED STATES BANKRUPTCY COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA
 9
                                     NORTHERN DIVISION
10
                                                Case No.: 9:22-bk-10023-DS
     In re
11
                                                Chapter: 11
12   DARRELL MAAG

13                                             NOTICE OF WITHDRAWAL WITHOUT
                                               PREJUDICE OF MOTION FOR
                                       Debtor.
14                                             DISALLOWANCE OF PROOF OF CLAIM 7
                                               FILED BY SOUTHWESTERN RESEARCH,
15                                             INC. [Dkt. No. 56]
16
                                                [No hearing required]
17

18

19 TO THE HONORABLE DEBORAH J. SALTZMAN, UNITED STATES BANKRUPTCY

20 JUDGE; THE OFFICE OF THE UNITED STATES TRUSTEE; SOUTHWESTERN

21 RESEARCH, INC., AND OTHER INTERESTED PARTIES:

22           PLEASE TAKE NOTICE THAT, pursuant to the Stipulation for Entry of Judgment
23 for Avoidance, Recovery and Preservation of Prepetition Transfers under 11 U.S.C. §§

24 547(b), 550(a) and 551, filed as Docket No. 45 in the adversary proceeding entitled

25 Southern California Research, LLC, and Darrell Derrick Maag v. Southwestern Research,

26 Inc. (Adv. Case No. 9:22-ap-01012-DS), Darrell Maag (the “Debtor”) hereby withdraws the

27 Motion for Disallowance of Proof of Claim 7 Filed by Southwestern Research, Inc. (the

28 “Motion”), filed on September 6, 2022 [Dkt. No. 56]. The Debtor’s withdrawal of the Motion
Case 9:22-bk-10023-DS      Doc 148 Filed 03/29/23 Entered 03/29/23 17:39:11          Desc
                            Main Document     Page 2 of 5



 1 is without prejudice, and the Debtor reserves all rights to refile the Motion or otherwise to

 2 seek any or all the relief sought by the Motion at the appropriate time.

 3
     DATED: March 29, 2023                       MARGULIES FAITH, LLP
 4
                                                 By:    /s/ Monsi Morales      .
 5                                                         Craig G. Margulies
                                                 …………Monsi Morales
 6                                               Attorneys for Darrell Maag,
                                                 Debtor and Debtor-in-Possession
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                               Page - 1
        Case 9:22-bk-10023-DS                     Doc 148 Filed 03/29/23 Entered 03/29/23 17:39:11                                      Desc
                                                   Main Document     Page 3 of 5



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
16030 Ventura Blvd., Suite 470, Encino, CA 91436

A true and correct copy of the foregoing document entitled NOTICE OF WITHDRAWAL WITHOUT PREJUDICE OF
MOTION FOR DISALLOWANCE OF PROOF OF CLAIM 7 FILED BY SOUTHWESTERN RESEARCH, INC. [Dkt. No.
56] will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b)
in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
March 29, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                            Service information continued on attached page


2. SERVED BY UNITED STATES MAIL:
On March 29, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.


JUDGE: Pursuant to Amended General Order, no Judge’s copy is being served.

                                                                                            Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on ______________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  March 29, 2023                             Angela Saba                                         /s/ Angela Saba
  Date                                     Printed Name                                          Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 9:22-bk-10023-DS                     Doc 148 Filed 03/29/23 Entered 03/29/23 17:39:11                                      Desc
                                                   Main Document     Page 4 of 5



                                                      ADDITIONAL SERVICE LIST

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

Megan M Adeyemo on behalf of Debtor Darrell D. Maag
madeyemo@grsm.com, asoto@grsm.com

J Scott Bovitz on behalf of Creditor Southwestern Research, Inc.
bovitz@bovitz-spitzer.com

J Scott Bovitz on behalf of Defendant Southwestern Research, Inc.
bovitz@bovitz-spitzer.com

J Scott Bovitz on behalf of Plaintiff Southwestern Research, Inc.
bovitz@bovitz-spitzer.com

Jeffrey D Cawdrey on behalf of Debtor Darrell D. Maag
jcawdrey@grsm.com, madeyemo@gordonrees.com;sdurazo@grsm.com

Jeffrey D Cawdrey on behalf of Defendant Darrell Maag
jcawdrey@grsm.com, madeyemo@gordonrees.com;sdurazo@grsm.com

Donald Cornwell on behalf of Creditor Southwestern Research, Inc.
don@doncornwell.com

Donald Cornwell on behalf of Creditor Southwestern Research, Inc.
don@doncornwell.com

Donald Cornwell on behalf of Defendant Southwestern Research, Inc.
don@doncornwell.com

Vincent V Frounjian on behalf of Creditor AMERICAN HONDA FINANCE CORPORATION
vvf.law@gmail.com

Craig G Margulies on behalf of Debtor Darrell D. Maag
Craig@MarguliesFaithlaw.com,
Vicky@MarguliesFaithlaw.com;Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com

Craig G Margulies on behalf of Debtor Darrell Derrick Maag
Craig@MarguliesFaithlaw.com,
Vicky@MarguliesFaithlaw.com;Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com

Craig G Margulies on behalf of Plaintiff Darrell Derrick Maag
Craig@MarguliesFaithlaw.com,
Vicky@MarguliesFaithlaw.com;Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com

Kristin T Mihelic on behalf of U.S. Trustee United States Trustee (ND)
kristin.t.mihelic@usdoj.gov

Monserrat Morales on behalf of Debtor Darrell D. Maag
Monsi@MarguliesFaithLaw.com,
Vicky@MarguliesFaithLaw.com;Helen@marguliesfaithlaw.com;Angela@MarguliesFaithlaw.com

Monserrat Morales on behalf of Debtor Darrell Derrick Maag

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 9:22-bk-10023-DS                     Doc 148 Filed 03/29/23 Entered 03/29/23 17:39:11                                      Desc
                                                   Main Document     Page 5 of 5


Monsi@MarguliesFaithLaw.com,
Vicky@MarguliesFaithLaw.com;Helen@marguliesfaithlaw.com;Angela@MarguliesFaithlaw.com

Monserrat Morales on behalf of Interested Party Courtesy NEF
Monsi@MarguliesFaithLaw.com,
Vicky@MarguliesFaithLaw.com;Helen@marguliesfaithlaw.com;Angela@MarguliesFaithlaw.com

Monserrat Morales on behalf of Plaintiff Darrell Derrick Maag
Monsi@MarguliesFaithLaw.com,
Vicky@MarguliesFaithLaw.com;Helen@marguliesfaithlaw.com;Angela@MarguliesFaithlaw.com

Jerry Namba (TR)
jnambaepiq@earthlink.net, jnambalaw@yahoo.com;jn01@trustesolutions.net;paknamba@gmail.com

James R Selth on behalf of Debtor Southern California Research, LLC
jselth@wztslaw.com, jselth@yahoo.com;maraki@wztslaw.com;sfritz@wztslaw.com

James R Selth on behalf of Interested Party Courtesy NEF
jselth@wztslaw.com, jselth@yahoo.com;maraki@wztslaw.com;sfritz@wztslaw.com

James R Selth on behalf of Interested Party Courtesy NEF
jselth@wztslaw.com, jselth@yahoo.com;maraki@wztslaw.com;sfritz@wztslaw.com

Valerie Smith on behalf of Interested Party Courtesy NEF
claims@recoverycorp.com

United States Trustee (ND)
ustpregion16.nd.ecf@usdoj.gov

Daniel J Weintraub on behalf of Debtor Southern California Research, LLC
dweintraub@wztslaw.com, vinnet@ecf.inforuptcy.com

Daniel J Weintraub on behalf of Plaintiff Southern California Research, LLC
dweintraub@wztslaw.com, vinnet@ecf.inforuptcy.com


    




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
